         Case 8:05-cr-00053-JSM-TGW Document 317 Filed 12/19/05 Page 1 of 6 PageID 539
A 0 245B (Rev 12/03) Sheet 1 - Judgment m a Criminal Case
                                                                                                                                      I
                                UNITED STA TES DISTRICT COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                                             TAMPA DIVISION



UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                                                 CASE NUMBER: 8:05-cr-53-T-30TGW
                                                                 USM NUMBER: 42676-018
VS.



PRUDENICA PORTOCABRERO
                                                                 Defendant's Attorney: Darlene Barror, cja.

THE DEFENDANT:

-
X pleaded guilty to count@)ONE and TWO of the Indictment.
- pleaded nolo contendere to count@)which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                          NATURE OF OFFENSE                                 OFFENSE ENDED            COUNT

46 U.S.C. §§1903(a) and (g);             Possession With Intent to Distribute              February 6, 2005         One
18U.S.C.§2and21U.S.C.                    5KilogramsorMoreofCocaineWhile
8960@)(l)(B)(ii)                         On Board a Vessel Subject to the
                                         Jurisdiction of the United States

46 U.S.C. @1903(a) (g) and 0); Conspiracy to Possess With Intent to                        February 6, 2005         Two
21 U.S.C. §960(b)(l)(B)(ii)    Distribute 5 Kilograms or More of Cocaine
                               While On Board a Vessel Subject to the
                               Jurisdiction of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
- Count(s) (is)(are) dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                  Date of Imposition of Sentence: December 16, 2005




                                                                                  J&        S. MOODY, JR.      '
                                                                                  DATE: December       / b ,2005
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         PRUDENICA PORTOCABRERO                                                                   Judgment - Page 2 of 5
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                                                             IMPRISONMENT

        After considering the advisory sentencing guidelines a n d all of t h e factors identified in Title 18 U.S.C.
$9 3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED and FIFTY-ONE (151) MONTHS as to Counts One and Two of the
Indictment; all terms to run concurrently.


X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at the correctional
institution located in McRae, Georgia.



    The defendant is remanded to the custody of the United States Marshal.
   The defendant shall surrender to the United States Marshal for this district.

         - at - a.m.1p.m. on      -.
         - as notified by the United States Marshal


   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

         - before 2 p.m. on -.
         - as notified by the United States Marshal.
         - as notified by the Probation or Pretrial Services Oftice.




                                                                     RETURN

         I have executed this judgment as follows:




         Defendant delivered on                                                    to                                                at

                                                                        , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                       By :

                                                                       Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:            PRUDENICA PORTOCABRERO                                                             Judgment - Page 3of 6
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                                                            SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Counts One and Two of the Indictment; all terms to run concurrently.

           T h e defendant shall report to the probation office in the district to which the defendant is released within 72 hours o f release
f r o m the custody of the Bureau of Prisons.

T h e defendant shall not commit another federal, state, o r local crime.

           T h e defendant, having been convicted o f a qualifying felony, shall cooperate in the collection of D N A as directed b y the
           probation officer.

             If this judgment imposes a fine o r a restitution it is a condition of supervised release that the defendant pay in accordance
             with the Schedule of Payments sheet o f this judgment.

             T h e defendant shall comply with the standard conditions that have been adopted b y this court as well as with any additional
             conditions o n the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
             the defendant shall not leave the judicial district without the permission of the court or probation officer;

             the defendant shall report to the probation officer and shall submit a truthful and conlplete written report within the first five days of each
             month;

             the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

             the defendant shall support his or her dependents and meet other family responsibilities;

             the dcfcndant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;

             thc defendant shall notify the probation officer at lcast ten days prior to any change in residence or employment;

             the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

             the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

             the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;

             the defcndant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;

             the defendant shall notify the probation officer within scventy-two hours of being arrested or questioned by a law enforccment officer;

             the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court;

             as directed by the probation officer, the defendant shall notify third parties of risks that niay be occasioned by the defendant's criminal record
             or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
             compliance with such notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:           PRUDENICA PORTOCABRERO                                                             Judgment - Page 4 of 6
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                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:

X
-          If the defendant be deported, helshe shall not be allowed to re-enter the United States without the express permission of the
           appropriate governmental authority.

X
-          The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation
           officer's determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed
           104 tests per year.
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A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:           PRUDENICA PORTOCABRERO                                                      Judgment - Page 5 of 6
Case No. :           8:05-cr-53-T-30TGW

                                                CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                                                       Total Restitution

           Totals:              $200.00                                Waived                    N/ A


-          The determination of restitution is deferred until .                 An Amended Judgment in a Crinzinal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including con~munityrestitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or ercenta e payment column below. However, pursuant to 18 U.S.C. 5
           3664(i), all nonfederal victims must be paifbefore Phe United States.
                                                                                                                 Priority Order or
                                                        *Total                     Amount of                     Percentage of
Name of Payee                                         Amount of Loss            Restitution Ordered              Payment




                                Totals:               3L.                       L

-          Restitution amount ordered pursuant to plea agreement $
-          The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
-          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -          the interest requirement is waived for the - fine          - restitution.
          -          the interest requirement for the - fine              restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:        PRUDENICA PORTOCABRERO                                                            Judgment - Page 6of 6
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                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 200.00 due immediately, balance due
                            -not later than                   , Or
                            -in accordance - C, - D, - E or - F below; or
                  Payment to begin immediately (may be combined with -C , -D, or -F below): or
                  Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g . , months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment; or
                  Payment in equal                  (e .g ., weekly, monthly, quarterly) installments of $               over a
                  period of
                               , (e .g ., months or years) to commence                       (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                         payment of criminal
monetar penalties is due during im risonment. All criminal monetary penalties, except                               made through the
         B                              i
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and roperty,
or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the de endant's
nominees.
                                                                                                                              P

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
